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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )                      8:13CR43
                                              )
               V.                             )
                                              )
DOLORES MARIA TORRES,                         )                FINDINGS AND
                                              )              RECOMMENDATION
                      Defendant.              )
                                              )


      This matter is before the Court on Defendant Dolores Torres’s (“Defendant”) Motion
to Dismiss. (Filing 470.) For the reasons explained below, the undersigned will
recommended to United States District Court Judge John Gerrard that the motion be denied.

                                       BACKGROUND

       Defendant is charged with conspiracy to distribute and possession with intent to
distribute methamphetamine, heroin, and cocaine in violation 21 U.S.C. §§ 846 and 841.
Defendant claims that double jeopardy bars her prosecution because, in 2011, she was
convicted in the Southern District of California of a charge “now disclosed as activity
associated with the current conspiracy charge filed by the Federal Government.” (Filing
470.) The 2011 conviction stemmed from an incident in which Defendant and another
individual attempted to transport drugs from Mexico into California. Defendant’s most
recent Pretrial Services Report indicates that as a result of the California incident, Defendant
was charged with, and convicted of, importation of a controlled substance in violation of 21
U.S.C. §§ 952 and 960. (Filing 463.)

        Defendant also maintains that the doctrine of collateral estoppel precludes
prosecution of this action. Defendant contends that the government is attempting to re-
litigate something that was conclusively determined in the California proceeding. Defendant
claims that if this matter is tried, the evidence that will be presented at trial will include the
activity that occurred in 2011, which was litigated and plead to by Defendant.
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       Additionally, Defendant claims that the government’s delay in prosecuting this action
has prejudiced her ability to defend herself because witnesses previously available can no
longer be located.

                                       DISCUSSION

       Defendant argues that prosecuting her in this Court violates her rights under the
Double Jeopardy Clause of the United States Constitution. The Double Jeopardy Clause bars
successive prosecutions or multiple punishments for the same offense. U.S. Const. Amend.
V. Whether two offenses are the “same offense” is determined by application of the “same
elements” test. See Blockburger v. United States, 284 U.S. 299, 304 (1935). This test
essentially asks whether the offense charged in the subsequent prosecution “requires proof
of a fact which the other does not.” Id. “If not, they are the same offense and double
jeopardy bars additional punishment and successive prosecution.” State v. Winkler, 266 Neb.
155, 160, 663 N.W.2d 102, 107 (2003).

       It is clear that Defendant’s double jeopardy claim lacks merit. To show a violation
of 21 U.S.C. § 846, the government must establish that an agreement to engage in the
distribution of drugs existed between two or more people, including the defendant. United
States v. Frayer, 9 F.3d 1367, 1373 n.3 (8th Cir. 1993). The government does not need to
show the existence of an agreement to obtain a conviction for importation of drugs under 21
U.S.C. §§ 952 and 960. Moreover, it is well-established that “[t]he commission of a
substantive offense and a conspiracy to commit that offense are two separate and distinct
crimes.” United States v. Muza, 788 F.2d 1309, 1312 (8th Cir. 1986) (quoting United States
v. Shigemura, 682 F.2d 699, 705 n.11 (8th Cir. 1982).

        Defendant’s assertion that collateral estoppel precludes prosecution of this action
likewise fails. In addition to double jeopardy, the Fifth Amendment embodies the rule of
collateral estoppel. This doctrine is explained as simply meaning that “when an issue of
ultimate fact has once been determined by a valid and final judgment, that issue cannot again
be litigated between the same parties in any future lawsuit.” Ashe v. Swenson, 397 U.S. 436,
443 (1970). “The burden of proof is on the defendant to show that the verdict in the first trial
necessarily decided the fact or issue sought to be precluded in the second trial.” U.S. v.

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Bearden, 265 F.3d 732, 735 (8th Cir. 2001). Defendant has not met this burden. Defendant
vaguely asserts that the “prior charge had the elements of a conspiracy involved in that two
people were in the vehicle that was stopped coming into the United States and that the
information reviewed by the sentencing judge appeared to indicate that the two parties in the
vehicle were associated with someone else.” (Filing 471 at CM/ECF p. 3.) However,
Defendant’s generalized statements regarding evidence of a conspiracy in 2011, and
assumptions as to what the sentencing judge considered in the California case, is insufficient
to satisfy her burden of proof. Defendant has not presented any evidence tending to show
that an issue sought to be litigated in this case was necessarily or actually determined in the
California action.

        Finally, Defendant claims that her defense has been substantially prejudiced by the
government’s delay in prosecuting this action. Defendant claims she has been prejudiced
because witnesses are no longer available for examination. Defendant has not, however,
identified any specific individual who is no longer available, nor has she otherwise shown
how her ability to defend herself has been prejudiced.

       Accordingly,

      IT IS HEREBY RECOMMENDED to District Court Judge John Gerrard that
Defendant’s Motion to Dismiss (filing 470) be denied.

     The parties are notified that failing to timely object to this Findings and
Recommendation may constitute a waiver of any objection.

       DATED October 14, 2014.

                                           BY THE COURT:

                                           S/ F.A. Gossett
                                           United States Magistrate Judge




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